Case 0

 

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JNM:plw 1/4/22

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 0:21-CR-60020-WPD
UNITED STATES OF AMERICA
Plaintiff
-vs-
JONATHAN MARKOVICH, et al.

Defendants

 

NOTICE OF APPEARANCE AS COUNSEL FOR CRIME VICTIMS,
WILLIAM McMURRAY AND DAWN McMURRAY

Now comes undersigned counsel, and hereby gives notice of his
appearance as counsel for crime victims, WILLIAM McMURRAY and DAWN
McMURRAY, as surviving Father and Mother and next of kin to KAYLA NICOLE
McMURRAY, their deceased daughter.

Respectfully submitted,

 

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ATTORNEYS FORCRIME VICTIMS,
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DAWN McMURRAY

 

 
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was

electronically filed on January _27_, 2022 using the CM/ECF System which will

send notification of such filing to all parties.

  

William McMurray &
Dawn McMurray

 

 

 
